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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA,                          §
                                                    §
                                                    § CASE NO. 6:14-CR-00025-RC
 v.                                                 §
                                                    §
                                                    §
 CEDRIC WILLIAMS (6),                               §
                                                    §

                   ORDER ADOPTING THE MAGISTRATE JUDGE'S
                       REPORT AND RECOMMENDATION

       The court referred a petition alleging violations of supervised release conditions to the

Honorable K. Nicole Mitchell, United States Magistrate Judge, at Tyler, Texas, for consideration

pursuant to applicable laws and orders of this court. The court has received and considered the

Report of the United States Magistrate Judge filed pursuant to such order, along with the record,

pleadings and all available evidence.

       At the close of the revocation hearing, U.S. Magistrate Judge K. Nicole Mitchell

recommended:

1.     that the Court find that the Defendant violated Allegation 4 in the petition alleging that he
       violated a standard condition of release by using and thereby possessing
       methamphetamine;

2.     that the Defendant’s supervised release should be revoked pursuant to 18 U.S.C. § 3583;
       and

3.     the Defendant should be sentenced to a term of 24 months of imprisonment with no
       supervised release to follow.

       Neither party has filed objections to Judge Mitchell’s Report and Recommendation.

Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct and

the report of the magistrate judge is ADOPTED. It is therefore


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      ORDERED and ADJUDGED that the petition is GRANTED and Cedric Williams’

supervised release is REVOKED.

      Judgment and commitment will be entered separately, in accordance with the magistrate

judge’s recommendations.



       So Ordered and Signed
       Dec 18, 2017




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